               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:07cr33-10

UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                    ORDER
                            )
                            )
JOHN WILSON PATTON.         )
                          )



       THIS MATTER is before the Court on the Remand of the United States

Fourth Circuit Court of Appeals for re-sentencing. United States v. Patton,

2011 WL 4600665 (4 th Cir. 2011).

       In the proceedings before this Court, the Defendant was represented by

court-appointed counsel.      The Defendant therefore qualifies for court-

appointed counsel and the Court will direct the Federal Defender to provide

counsel to the Defendant for re-sentencing.

       IT IS, THEREFORE, ORDERED as follows:

1.     The United States Marshal shall have the Defendant present in

       Asheville, North Carolina for the March 2012 sentencing term;

2.     The Clerk of Court shall calendar this matter for that term; and




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3.     The Federal Defender shall provide counsel to the Defendant for re-

       sentencing.

       The Clerk is directed to provide notification and/or copies of this Order

to the United States Attorney, Counsel for the Defendant, the United States

Marshal Service, and the United States Probation Office for the Western

District of North Carolina.



                                       Signed: February 8, 2012




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